                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )             NO. 2:03-CR-06
                                              )
DWAYNE NORTON                                 )


                                     ORDER


             This criminal matter is before the Court to address the defendant's

objections to his presentence report. In part, the defendant objects to his

classification as a career offender because he received less than a twelve month

sentence in regard to his two prior convictions for possession of cocaine with the

intent to deliver and possession of marijuana with the intent to deliver, both of

which are violations of N.C.G.S. § 90-95(a)(1), and both of which are punishable

as Class I felonies.

              Even though the defendant did receive a sentence of less than twelve

months, the Supreme Court of North Carolina has specifically held in State v.

Jones, 358 N.C. 473, 598 S.E.2d 125, 128 (2004), that “the phrase ‘punishable as a

Class I felony’ does not simply denote a sentencing classification, but rather,

dictates that a conviction for possession of the substances listed therein, including




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cocaine, is elevated to a felony classification for all purposes.” Therefore, the

defendant does have 2 prior felony drug convictions regardless of the sentences

that he received.

             In addition, the defendant pled guilty to a conspiracy to distribute and

to possess with the intent to distribute 50 grams or more of crack cocaine on

February 9, 2004. In his agreed factual basis, the defendant admitted that he was

responsible for 44 ounces or 1,247.4 grams of crack cocaine.

             Due to the amount of cocaine involved and his two prior felony drug

convictions, the defendant is subject to a mandatory term of life imprisonment

pursuant to 21 U.S.C. § 841(b)(1)(A). Therefore, any objections that the

defendant has in regard to his guideline sentence are MOOT, because he has a

statutory mandatory minimum sentence of life imprisonment. [Doc. 63].

             ENTER:

                                                   s/J. RONNIE GREER
                                               UNITED STATES DISTRICT JUDGE




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